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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            PANAMA CITY DIVISION


UNITED STATES OF AMERICA,


v.                                                         CASE NO. 5:03-cr-5-MCR-GRJ

STACY L. BUTLER,

_____________________________/


                                        ORDER

       This matter is before the Court on Doc. 126, Petitioner’s “Application to Proceed

for Transcript in Forma Pauperis and Declaration in Support of Application.” Petitioner

previously filed a petition for habeas corpus under 28 U.S.C. § 2255, which was

dismissed on October 8, 2008. (Doc. 84.) Petitioner requests copies of his docket

sheet, his sentencing transcript, discovery in his case, and several Federal Rules.

Petitioner’s motion includes a financial affidavit in support of his request to obtain such

copies at no cost.

       Congress has addressed the circumstances under which the Clerk may provide

copies of documents from the Court’s record to a petitioner without cost in a federal

habeas proceeding:

       If on any application for a writ of habeas corpus an order has been made
       permitting the petitioner to prosecute the application in forma pauperis, the clerk
       of any court of the United States shall furnish to the petitioner without cost
       certified copies of such documents or parts of the record on file in his office as
       may be required by order of the judge before whom the application is pending.

28 U.S.C. § 2250.

       Here, § 2250 is inapplicable because Petitioner’s habeas petition is no longer
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pending, and was indeed resolved several years ago. Moreover, even if the Court

granted Petitioner leave to proceed as a pauper for the purpose of requesting copies,

the Court would deny his request for free copies because he has made no showing of

specific need for the requested documents. Indigent petitioners are not automatically

entitled to free copies, and whether to order the Clerk to provide free copies rests within

the Court’s discretion. See id. Here, Petitioner has not demonstrated that he has made

any effort to obtain copies of the requested documents, such as the sentencing

transcript and discovery in his criminal case, from his counsel.

        If Plaintiff wishes to receive copies of any pleadings from the Clerk, he must

tender the Clerk’s standard copying fee of fifty cents (.50) per page. Petitioner may

forward a check from a penal institution, a cashier’s check, or a money order in the

appropriate amount, payable to “Clerk, U.S. District Court.” The payment must include

Plaintiff’s name, inmate number, and the case number, as well as a specific description

of the documents to be copied. The Court will direct the Clerk to provide Plaintiff with a

copy of the docket sheet in this case.

        Accordingly, it is ORDERED:

        That Petitioner’s “Application to Proceed for Transcript in Forma Pauperis and
        Declaration in Support of Application,” Doc. 126, is DENIED except to the extent
        that the Clerk shall send Defendant one copy of the docket..

        DONE AND ORDERED this 24th day of October 2012.


                                           s/ Gary R. Jones
                                           GARY R. JONES
                                           United States Magistrate Judge




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